
Wright, J.,
delivered the opinion of the Court.
This is a bill filed by the complainant to enjoin a judgment at law recovered against him by Edwin Harris, the intestate of the defendant. The ground of equity set up in the bill is, that complainant was never served with process in the trial at law, had no notice of it, and never appeared or made any defence to the action.
The Chancellor refused the complainant relief, and dismissed his bill.
In this we think he erred. We are satisfied from the proof in this record, that no process was executed upon the complainant in the action at law, and that he *230did not appear or make defence to it; and in fact had no notice of the judgment until long after its rendition.
This being so, upon the authority of the case of Ridgeway v. The Bank of Tennessee, 11 Hum., 523, he was entitled to relief; and it was not material in such a case, to inquire whether the complainant could have made a valid defence if he had been summoned.
It has been repeatedly held by this Court, that in such a case the injury consists in the rendition of a judgment against a party, without notice and the opportunity of defence; and that it is unjust and uncon-scientious to attempt to enforce a judgment so obtained.
We reverse the Chancellor’s decree, and decree for the complainant.
